       Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 1 of 11 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

  IN RE: HAIR RELAXER
                                                     MDL No. 3060
  MARKETING, SALES PRACTICES,
                                                     Master Docket Case No. 1:23-cv-00818
  AND PRODUCTS LIABILITY
                                                     Honorable Mary M. Rowland
  LITIGATION

  BARBARA SMITH,

  v.

  BEAUTY BELL ENTERPRISES LLC f/k/a
  HOUSE OF CHEATHAM, INC., DABUR
  INTERNATIONAL LTD., DABUR
                                    SHORT-FORM COMPLAINT AND
  INTERNATIONAL USA LTD., GODREJ
                                    JURY DEMAND
  SON HOLDINGS, INC., HOUSE OF
  CHEATHAM, LLC., L’ORÉAL USA,
  INC., L’ORÉAL USA PRODUCTS, INC.,
  LUSTER PRODUCTS, INC., NAMASTE    Civil Action No.
  LABORATORIES LLC, REVLON
  CONSUMER PRODUCTS
  CORPORATION, REVLON GROUP
  HOLDINGS, LLC, REVLON, INC.,
  SOFTSHEEN-CARSON LLC.,
  SOFTSHEEN-CARSON (W.I.), INC.,
  STRENGTH OF NATURE, LLC.



        1.     Plaintiff(s)/Injured Party/Decedent (hereinafter, “Plaintiff(s)”) incorporate by

 reference Plaintiffs’ Master Long Form Complaint in In Re: Hair Relaxer Marketing, Sales

 Practices and Products Liability Litigation, MDL 3060, filed as of May 15, 2023, as Document

 Number 106.

        2.     Plaintiff(s), Barbara Smith, file(s) this Complaint pursuant to CMO No. 2 and is to

be bound by the rights, protections and privileges, and obligations of that CMO and other Orders

of the Court. Further, in accordance with CMO No. 2, Plaintiff(s) hereby designate(s) the United

States District Court for the Northern District of Illinois as Plaintiff’s designated venue (“Original
      Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 2 of 11 PageID #:2




Venue”). Plaintiff makes this selection based upon one (or more) of the following factors (please

check the appropriate box(es)):

        _      Plaintiff currently resides in _____________________ (City/State);

       ___     Plaintiff purchased and used Defendant(s)’ products in _____________
               (City/State);

       ___     The Original Venue is a judicial district in which Defendant _____________
               resides, and all defendants are residents of the State in which the district is located
               (28 U.S.C. § 1391(b)(1)).

       X        The Original Venue is a judicial district in which a substantial part of the events or
               omissions giving rise to the claim occurred, specifically (28 U.S.C. § 1391(b)(2)):

       ___     There is no district in which an action may otherwise be brought under 28 U.S.C.
               § 1391, and the Original Venue is a judicial district in which Defendant
               ______________ is subject to the Court’s personal jurisdiction with respect to this
               action (28 U.S.C. § 1391(b)(3)).

        X      Other reason (please explain): This court has been granted supplemental
       jurisdiction under 28 U.S.C. § 157, § 1334, and § 1367(a) to hear matters that are related
       to bankruptcy proceedings pursuant to the Revlon bankruptcy plan.


       3.      For purposes of diversity jurisdiction, Plaintiff is a citizen of Alabama

(State/Territory).

       4.      Plaintiff is suing the following Defendants, and for purposes of diversity, whose

State of Incorporation/Formation and Principal Place of Business is as follows:

  Check All                                                                 State of        Principal Place
                                        Defendant
  Applicable                                                            Incorporation               of
  Defendants                                                             or Formation           Business
       ☐             AFAM Concept, Inc. d/b/a JF Labs, Inc.            Illinois            Illinois
       ☐             Avlon Industries                                  Illinois            Illinois
       ☒             Beauty Bell Enterprises LLC f/k/a House of
                                                                       Georgia             Georgia
                     Cheatham, Inc.
       ☒             Dabur International Ltd.                          Isle of Man         Dubai
       ☒             Dabur International USA Ltd.                      India               Illinois



                                                    2
        Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 3 of 11 PageID #:3




    Check All                                                             State of         Principal Place
                                       Defendant
    Applicable                                                         Incorporation             of
    Defendants                                                         or Formation           Business
        ☐          Dermoviva Skin Essentials, Inc.                    Delaware            New Jersey
        ☒          Godrej SON Holdings, Inc.                          Georgia             Georgia
        ☒          House of Cheatham LLC                              Delaware            Georgia
        ☒          L’Oréal USA, Inc.                                  Delaware            New York
        ☒          L’Oréal USA Products, Inc.                         Delaware            New York
        ☒          Luster Products, Inc.                              Illinois            Illinois
        ☐          McBride Research Laboratories, Inc.                Georgia             Georgia
        ☒          Namaste Laboratories LLC                           Illinois            Illinois
        ☒          Revlon Consumer Products Corporation               Delaware            New York
        ☒          Revlon Group Holdings LLC                          Delaware            Delaware
        ☒          Revlon, Inc.                                       Delaware            New York
        ☒          SoftSheen-Carson LLC                               New York            New York
        ☒          Strength of Nature, LLC                            Georgia             Georgia
        ☒          Other (Please identify): SoftSheen-Carson
                   (W.I.)                                             Delaware            New York


                               CASE SPECIFIC FACTS REGARDING
                          HAIR RELAXER PRODUCT USE AND INJURIES

         5.       Upon information and belief, Plaintiff began using hair relaxer product(s) on or

  about the following date 1978 and if applicable, stopped using hair relaxer product(s) on or about

  the following date: 2021.

         6.       Upon information and belief, Plaintiff used the following hair relaxer product(s),

  which Plaintiff contends caused and/or contributed to their injury(ies) and brings claims against

  the following Defendants:


      Defendant                     Product List (Select All Applicable Products)
AFAM Concept, Inc.       ☐ Hawaiian Silky - Crème Conditioning No Lye Silky Smooth Sheen
d/b/a JF Labs, Inc.        Relaxer

                                                   3
        Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 4 of 11 PageID #:4




     Defendant                          Product List (Select All Applicable Products)
                         ☐   Hawaiian Silky - Herbal No Lye Conditioning Relaxer System with Tea
                             Tree & Avocado Oil - 2 Applications
                         ☐   Vitale - Olive Oil Anti-Breakage Relaxer No Base with Shea Butter -
                             Regular Strength
                         ☐   Vitale Pro - New Texture Salon Exclusive Hair Relaxer
                         ☐   Vitale Mo'Body - Shea Butter Sensitive Scalp Relaxer with Oatmeal
                             Protein
                         ☐   Vitale - Life and Body - Hair Relaxer with Aloe Vera - Smooth Silky
                             Texture
                         ☐   Other (please specify): _______________________________

Avlon Industries, Inc.   ☐   Affirm Crème Relaxer
                         ☐   Affirm Sensitive Scalp Relaxer
                         ☐   Affirm Dry & Itchy Scalp Relaxer
                         ☐   Affirm FiberGuard Conditioning Crème Relaxer
                         ☐   Affirm FiberGuard Sensitive Scalp Conditioning Relaxer
                         ☐   Other (please specify): _______________________________________

Beauty Bell              ☒ Africa’s Best Herbal Intensive No-Lye Relaxer System
Enterprises, LLC         ☐ Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
f/k/a House of           ☒ Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
Cheatham, Inc.             Extra Virgin Olive Oil
                         ☐ Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer
                           System
                         ☐ Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                         ☐ Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                         ☐ Texture My Way Men’s Texturizing Kit
                         ☐ Texture My Way Women’s Texturizing & Softening System
                         ☐ Other (please specify): ___________________________________

House of Cheatham,       ☐ Africa’s Best Herbal Intensive No-Lye Relaxer System
LLC                      ☒ Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
                         ☐ Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
                           Extra Virgin Olive Oil
                         ☐ Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer
                           System
                         ☐ Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                         ☐ Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                         ☐ Texture My Way Men’s Texturizing Kit
                         ☐ Texture My Way Women’s Texturizing & Softening System
                         ☐ Other (please specify):


                                                4
        Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 5 of 11 PageID #:5




     Defendant                       Product List (Select All Applicable Products)
                       ☐   Dark and Lovely Beautiful Beginnings No-Mistake Smooth Relaxer
                       ☐   Dark and Lovely Beautiful Beginnings No Mistake Curl Softener
                       ☐   Dark and Lovely Healthy Gloss 5 Shea Moisture No Lye Relaxer
                       ☐   Dark and Lovely Triple Nourished Silkening Relaxer
                       ☐   Optimum Salon Haircare Defy Breakage No-Lye Relaxer
                       ☐   Optimum Salon Haircare Amla Legend Relaxer
                       ☐   Optimum Care Bodifying Relaxer
L’Oréal USA, Inc./     ☒   Optimum Multi-Mineral Reduced pH Crème Relaxer
L’Oréal USA            ☐   Bantu No Base Relaxer
Products, Inc./
                       ☐   Ultra Precise No-Lye Conditioning Relaxer
SoftSheen-Carson
LLC                    ☐   Mizani Butter Blend Relaxer
                       ☐   Mizani Butter Blend Sensitive Scalp Rhelaxer
                       ☐   Mizani Butterblend Prosolvent Relaxer
                       ☐   Mizani Classic Rhelaxer
                       ☐   Mizani Sensitive Scalp Rhelaxer
                       ☐   Care Free Curl – Cold Wave Chemical Rearranger Super Strength
                       ☐   Look of Radiance Permanent Crème Relaxer Kit
                       ☐   Other (please specify):

                       ☐ Luster’s Pink Oil Moisturizer No-Lye Conditioning Relaxer
                       ☐ Luster’s Pink Oil Moisturizer Short Looks Texturizer
                       ☐ Luster’s Pink Oil Moisturizer Smooth Touch Relaxer
                       ☐ PCJ Kit
                       ☐ PCJ No Lye Kit - Adult
Luster Products        ☐ PCJ No Lye Kit - Children’s
Company                ☐ ShortLooks Colorlaxer Diamond Black
                       ☐ ShortLooks Colorlaxer Passion Red
                       ☐ ShortLooks Colorlaxer Sable Brown
                       ☒ Other (please specify): Pink Conditioning No Lye Relaxer with Shea
                       Butter and Prota Silk

                     ☐ Design Essentials Honey Nectar Relaxer Kit - Time Release Regular
                       Strength
McBride Research     ☐ Design Essentials Sensitive Scalp Relaxer System
Laboratories
                     ☐ Design Essentials Regular Conditioning Relaxer
                     ☐ Other (please specify):
                     ☐ ORS Olive Oil Built-In-Protection No-Lye Relaxer – Full Application
                     ☐ ORS Olive Oil No-Mix Salon Formula Crème Relaxer
Namaste Laboratories
                     ☐ ORS Olive Oil Ultra Nourish Crème Hair Relaxer
                     ☐ ORS Olive Oil Built-In-Protection No-Lye Relaxer – New Growth
                     ☐ ORS Olive Oil Zone Relaxer – Targeted Touch-Up No-Lye Hair Relaxer

                                              5
       Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 6 of 11 PageID #:6




     Defendant                      Product List (Select All Applicable Products)
                      ☐   ORS Olive Oil Curl Stretching Texturizer
                      ☒   ORS Olive Oil Crème on Crème Touch-Up No-Lye Hair Relaxer
                      ☐   ORS Olive Oil Mild Touch Relaxer with 60% Lower Chemical
                      ☐   ORS Olive Oil Texlax and Stretch Semi-Straightening System
                      ☐   ORS Olive Oil Girls Built-In Protection Plus No-Lye Conditioning Hair
                          Relaxer System
                      ☐   ORS Olive Oil Girls Soft Curls No-Lye Crème Texture Softening
                          System
                      ☐   ORS HAIRepair No-Lye Conditioning Relaxer System with Cuticle
                          Shield
                      ☐   ORS Olive Oil Professional No-Lye Relaxer Kit
                      ☒   ORS Olive Oil Professional Crème Relaxer
                      ☐   Namasté Salon System Triple Emulsion Relaxer
                      ☐   Namasté Salon System Crème Relaxer
                      ☐   Namasté Salon System Conditioning Sensitive Scalp No-Lye Relaxer
                      ☐   Namasté Salon System Crème Relaxer Salon Trial Pack
                      ☐   (Other (please specify): ________________________________

                      ☒African Pride – No Lye Relaxer Kit
                      ☐African Pride – No Base Relaxer
                      ☐African Pride – Multi Length Texturizer Kit
                      ☐African Pride – Dream Kids No Lye Relaxer Kit
                      ☐All Ways Natural – No Lye Conditioning Crème Relaxer Kit
                      ☐Arosci Aromaphoric Relaxer System
                      ☐Crème Of Nature Relaxer Cream
                      ☒Crème Of Nature Relaxer Kit Argan Oil
                      ☐Crème of Nature Herbarich Conditioning Crème Relaxer System Kit
Revlon, Inc./ Revlon  ☐Crème of Nature Herbarich Conditioning Crème Relaxer and
Consumer Products      Texturizing System
Corporation/ Revlon  ☐ Crème of Nature Herbarich No Base Relaxer
Group Holdings LLC/
                     ☐ Crème of Nature No Base Relaxer
Revlon
                     ☒ Crème of Nature No Lye Relaxer
                     ☐ Crème of Nature Sodium Relaxer Kit
                     ☐ Crème Of Nature Cni No Lye Relaxer
                     ☐ Crème Of Nature Cni Sunflower & Coconut Oil - Creme
                     ☐ Crème Of Nature Eden Relaxer
                     ☐ Fabulaxer No-Lye Relaxer
                     ☐ Fabulaxer Gro-7
                     ☒ Revlon Realistic No-Base Relaxer
                     ☐ Revlon Realistic No Lye Relaxer Kit
                     ☐ Other (please specify):_________________________________

                                             6
        Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 7 of 11 PageID #:7




     Defendant                     Product List (Select All Applicable Products)

Strength of Nature,   ☐ African Pride Olive Miracle Deep Conditioning Crème-on-Crème No
LLC                     Lye Relaxer 8 Salon Pack Touch-Ups
                      ☐ African Pride Olive Miracle Deep Conditioning Curls & Coils
                         Texturizer
                      ☐ African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer
                         With Aloe Deep Conditioner
                      ☒ African Pride Olive Miracle Deep Conditioning No-Lye Relaxer One
                         Complete Application
                      ☐ African Pride Olive Miracle Deep Conditioning No-Lye Relaxer, One
                         Complete Touch-Up
                      ☐ African Pride Shea Miracle Texture Softening Elongating System
                      ☐ African Pride Dream Kids Olive Miracle (4) Touch-Up Relaxer Kit
                      ☐ African Pride Dream Kids Olive Miracle Relaxer
                      ☐ African Pride Dream Kids Olive Miracle Touch-Up Relaxer Kit
                      ☐ Dr. Miracle’s No Lye Relaxer Kit
                      ☐ Dr. Miracle’s New Growth No-Lye Relaxer Kit
                      ☐ Elasta QP Normal Relaxer Kit
                      ☐ Elasta QP Normal Relaxer Kit 2 Applications
                      ☐ Elasta QP Resistant Relaxer Kit
                      ☐ Elasta QP Sensitive Scalp Kit 12 Application Economy Pack
                      ☐ Elasta QP Sensitive Scalp Kit – 4 Applications
                      ☐ Elasta QP No Base Crème Relaxer
                      ☐ Elasta QP SOY OYL No-Base Relaxer
                      ☐ Elasta QP SOY OYL 4 Application Anti-Dryness No Lye Relaxer Kit
                      ☐ Elasta QP No-Base Relaxer
                      ☐ Elasta QP Extra Body No-Base Regular Relaxer
                      ☐ Elasta QP Extra Body No-Base Super Relaxer
                      ☐ Gentle Treatment No-Lye Relaxer Gray Kit
                      ☐ Gentle Treatment No-Lye Relaxer
                      ☐ Just For Me Relaxer 1 Complete Touch Up Relaxer
                      ☐ Just For Me 4 Application Salon Pack Relaxer
                      ☐ Just For Me No-Lye Conditioning Crème Relaxer Kit
                      ☐ Just For Me No-Lye Conditioning Crème Relaxer Kit with Coil & Curl
                         Cream
                      ☐ Just For Me No-Lye Conditioning Crème Relaxer Kit (Super) with Oil
                         Moisturize Lotion
                      ☐ Just For Me No-Lye Texture Softener System
                      ☐ Just For Me No-Lye Texture Softener System with Hair & Scalp Butter
                      ☒ Motions Classic Formula Smooth & Silken Hair Relaxer
                      ☐ Motions Professional 12-Application Salon Pack


                                             7
     Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 8 of 11 PageID #:8




   Defendant                       Product List (Select All Applicable Products)
                       ☒ Motions Silkening Shine No Lye Relaxer Kit
                       ☐ Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 2 Touch Up
                         Application
                       ☐ Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 1 Complete
                         Touch Up Application
                       ☐ Profectiv Procision Relaxer Kit Regular
                       ☐ Profectiv Relax and Refresh Kit Auburn Spice
                       ☐ Profectiv Relax and Refresh Kit Cherry Fusion
                       ☐ Profectiv Relax and Refresh Kit Jet Black
                       ☐ Profectiv Relax and Refresh Kit Mahogany Brown
                       ☐ Profectiv Relax and Refresh Kit Silky Black
                       ☐ Pro-Line Comb Thru Texturizer Kit
                       ☐ SmartPerm No-Lye Anti-Breakage Relaxer System
                       ☐ SmartPerm No-Lye Anti-Breakage New Growth Relaxer System, Smart
                         Grow Stimulator
                       ☐ SmartPerm Smart Valu No-Lye Anti-Breakage Relaxer Kit, 4
                         Applications
                       ☐ Smart Perm Smart Valu Smart Gro Stimulator New Growth No-Lye
                         Relaxer with GroRehab 4 Applications
                       ☐ S&B® Botanicals™ 2 Application Relaxer
                       ☐ S&B® Botanicals™ No-Lye Sensitive Scalp Relaxer, 1-App
                       ☐ S&B® Botanicals™ No-Mix Texturizer 2-App, with Deep Conditioner
                       ☐ S&B® Botanicals™ No-Mix Texturizer 2-App
                       ☐ S&B® Botanicals™ Relaxer 8-Touch Up
                       ☐ Soft & Beautiful No-Lye Crème Relaxer
                       ☐ Soft & Beautiful No-Lye Ultimate Conditioning Relaxer System
                       ☐ TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                         Relaxer
                       ☐ TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                         Relaxer, 2 Applications
                       ☐ TCB No-Base Crème Hair Relaxer with Protein & DNA
                       ☐ UltraSheen Supreme Conditioning No-Lye Relaxer
                       ☐ UltraSheen Ultra Moisturizing No-Lye Relaxer
                       ☐ UltraSheen Ultra Moisturizing No-Lye Relaxer, with Keratin Other
                         (please specify):__________________________________


       7.      Other manufacturer(s)/product(s) used by Plaintiff not identified above:

SoftSheen-Carson (W.I.): L’Oreal/SoftSheen-Carson products listed above.

       8.      Plaintiff’s use of Defendant(s) hair relaxer product(s) caused serious injuries and

                                                8
      Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 9 of 11 PageID #:9




damages including but not limited to the following:

       ☒       Uterine Cancer
       ☒       Endometrial Cancer
       ☐       Ovarian Cancer
       ☒       Other injuries and/or additional details (please specify): Breast cancer.


       9.      Approximate date(s) of diagnosis (injury(ies)), if applicable at this time, that

form(s) the basis of Plaintiff’s claim(s): Breast Cancer, 2009 and 2011; Uterine/Endometrial

cancer, November 2014.

       CAUSES OF ACTION AND THEORIES OF RECOVERY ADOPTED AND
                    INCORPORATED IN THIS LAWSUIT

       10.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, all common factual allegations contained in paragraphs 1 through 114 of the Master Long

Form Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices,

and Products Liability Litigation, MDL No. 3060.

       11.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, the following Causes of Action and the Prayer for Relief within the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the Northern

District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices, and

Products Liability Litigation, MDL No. 3060:

        ☒       Count I – Negligence and/or Gross Negligence

        ☒       Count II – Negligent Misrepresentation

        ☒       Count III – Negligence Per Se

        ☒       Count IV – Strict Liability: Design Defect


                                                 9
    Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 10 of 11 PageID #:10




        ☒       Count V – Strict Liability: Failure to Warn

        ☒       Count VI – Breach of Implied Warranty of Merchantability/ Fitness for a
                Particular Use

        ☒       Count VII – Breach of Express Warranty under state law and the Magnuson-
                Moss Warranty Act, 15 U.S.C. § 2301 et seq.

        ☒       Count VIII – Fraud/ Fraudulent Misrepresentation

        ☒       Count IX – Fraudulent Concealment

        ☒       Count X – U.S. State and Territory Statutory Consumer Protection and Unfair
                or Deceptive Trade Practices Claims

        ☒       Count XI – Unjust Enrichment ]

        ☐       Count XII – Wrongful Death

        ☐       Count XIII – Survival Action

        ☐       Count XIV – Loss of Consortium

        ☒       Count XV – Punitive Damages

        ☐       Other Causes of Action:

    __________________________________________________________________________

    __________________________________________________________________________

    ______________________________________________.


       12.      Consortium Claim(s) (if applicable): The following individual(s) allege(s)

damages for loss of consortium:

_____________________________________________________________________________.

       13.      Survival and/or Wrongful Death Claim(s) (if applicable): The following

individual(s)    allege(s)     damages       for    survival     and/or      wrongful        death:

_____________________________________________________________________________.

                                               10
   Case: 1:23-cv-10280 Document #: 1 Filed: 09/12/23 Page 11 of 11 PageID #:11




                                        JURY DEMAND

     Plaintiff(s) demand(s) a trial by jury as to all claims in this action.



Dated this the 12th day of September, 2023.


                                      RESPECTFULLY SUBMITTED
                                      ON BEHALF OF THE PLAINTIFF(S),




                                      Aigner Kolom (AL Bar No.: 9984-N79G)
                                      Navan Ward, Jr. (AL Bar No.: 9527-A57W)
                                      Ryan Beattie (AL Bar No.: 2368-G15K)
                                      David Dearing (AL Bar No.: 9990-L39C)
                                      Matthew P. Teague (AL Bar No.: 5085-W72T)
                                      Frank Woodson (AL Bar No.: 0479-N66E)
                                      BEASLEY, ALLEN, CROW,
                                      METHVIN, PORTIS & MILES, P.C.
                                      Overlook II
                                      2839 Paces Ferry Road, SE, Suite 400
                                      Atlanta, Georgia 30339
                                      Phone: (800) 898-2034
                                      Facsimile: (334) 954-7555
                                      Email: navan.ward@beasleyallen.com
                                      Email: aigner.kolom@beasleyallen.com
                                      Email: ryan.beattie@beasleyallen.com
                                      Email: david.dearing@beasleyallen.com
                                      Email: matt.teague@beasleyallen.com
                                      Email: frank.woodson@beasleyallen.com

                                      Attorney for Plaintiff




                                                 11
